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                  EXHIBIT D




      Filed Under Seal and Subject to Stipulated Protective Order in
          United States, et al. v. Google LLC, No. 20-cv-3010-APM
       State of Colorado, et al. v. Google LLC, No. 20-cv-3715-APM
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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03010-APM

 v.                                                    HON. AMIT P. MEHTA
 GOOGLE LLC,

                                Defendant.


 STATE OF COLORADO, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03715-APM

 v.                                                    HON. AMIT P. MEHTA
 GOOGLE LLC,

 Defendant.



                     PLAINTIFF STATES’ EXHIBITS OFFERED FOR ADMISSION

       Plaintiff States offer the trial exhibits listed below for admission into evidence, subject to the Parties’

ongoing objection to embedded hearsay.

 PSX00238                 PSX01116                 PSX00866.020              PSX00866.021

 PSX00866.022             PSX00866.023             PSX01250                  PSX01251

 PSX01252                 PSX01253                 PSX01254                  PSX01255

 PSX01256                 PSX01269                 PSX01270
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Dated: November 9, 2023               Respectfully submitted,

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